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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


UNITED STATES,                         )
                                       )
                  Plaintiff,           )
                                       )
                                       )
v.                                     )                          Crim Case No. 12-20019-01-CM
                                       )
                                       )
DANIELLE R. KOSTIUK,                   )
                                       )
                  Defendant.           )
                                       )
_______________________________________)

                                  MEMORANDUM AND ORDER

       This case is before the court on defendant Danielle Kostiuk’s Motion to Vacate under 28

U.S.C. § 2255 (Doc. 54) (“2255 Motion”) and Motion for Relief of a Newly Recognized Right of

Alleyne (Doc. 56) (“Alleyne Motion”). On July 3, 2012, Kostiuk entered into a plea agreement for

crimes related to possession and distribution of methamphetamine. (Doc. 26.) It proposed a sentence

of no less than ten years and no more than life imprisonment; five years of supervised release; and a

mandatory special assessment fee of $100. On December 18, 2012, the court imposed a 210-month

sentence, followed by five years of supervised release, and the $100 special assessment fee. (Doc. 45.)

Defendant did not file a direct appeal and thus her conviction became final fourteen days after

judgment was entered—December 31, 2012. On May 28, 2014, defendant filed both of the motions

before the court, each of which is extremely vague and contains little factual support for her claims.

The court denies both motions.

       Defendant’s Alleyne Motion relies upon the recent Supreme Court case United States v.

Alleyne, 133 S. Ct. 2151 (2013), which held:




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        Any fact that, by law, increases the penalty for a crime is an “element” that must be
        submitted to the jury and found beyond a reasonable doubt. Mandatory minimum
        sentences increase the penalty for a crime. It follows, then, that any fact that increases
        the mandatory minimum is an “element” that must be submitted to the jury.

133 S. Ct. at 2155 (citation omitted). But Alleyne does not apply retroactively to cases on collateral

review. In re Payne, 733 F.3d 1027, 1029 (10th Cir. 2013). Accordingly, the court denies this motion

and will now review defendant’s 2255 Motion.

        Motions filed under § 2255 are subject to a one year limitation period. 28 U.S.C. § 2255(f).

Defendant’s one-year period, during which she could collaterally attack her sentence, began on

December 31, 2012, when defendant’s judgment became final. See 28 U.S.C. § 2255(f)(1). The

period closed on December 31, 2013. Defendant filed her 2255 Motion on May 28, 2014—almost six

months outside the limitation period. Therefore, her 2255 Motion is time-barred. Even if the court

liberally construed defendant’s pleadings because she is acting pro se1 and considered it timely under

§ 2255(f)(3), the result is the same because Alleyne does not apply retroactively to cases on collateral

review. Section 2255(f)(3) does not apply under these circumstances.

        The court declines to issue a certificate of appealability, to the extent a certificate is necessary

in this case, because reasonable jurists could not debate whether “the petition should have been

resolved in a different manner or that the issues presented were adequate to deserve encouragement to

proceed further.” Slack v. McDaniel, 529 U.S. 473, 484 (2000) (internal quotation marks and citation

omitted).

        IT IS SO ORDERED that defendant’s Motion to Vacate under 28 U.S.C. § 2255 (Doc. 54)

and Motion for Relief of a Newly Recognized Right of Alleyne (Doc. 56) are denied.

        IT IS FURTHER ORDERED that the court will not issue a certificate of appealability in this

case.

1
 See United States v. Pullen, Nos. 98–40080–JAR, 06–3095–JAR, 2008 WL 504141, at *1 (D. Kan. Feb. 20, 2008) (citing
Whitney v. New Mexico, 113 F.3d 1170, 1173 (10th Cir. 1997)).




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     Dated this 17th day of October, 2014, at Kansas City, Kansas.


                                         s/ Carlos Murguia
                                         CARLOS MURGUIA
                                         United States District Judge




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